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                                                               March 2, 2018


         Judge Sidney H. Stein
         United States District Court
         Southern District of New York
         500 Pearl Street
         New York, New York 10007

         Re:           Maccarone v Hardy, et al.
         Docket #      17 CV 06061 (SHS) (GWG)
         Date of Accident: 2/5/17

         Honorable Judge Stein:


                 My office represents Defendants/Third Party Plaintiffs Sebastian Hardy and Penelope
         Hardy, as legal representatives of the Estates of Hugh Hardy and Tiziana Hardy (hereinafter
         referred to as the Defendants Hardy).

                This letter is submitted in reply to Plaintiff’s Letter Motion to compel the Hardy
         defendants to provide further discovery responses and request for a motion conference.

                 A discovery conference would be beneficial. To date, the plaintiff has failed to provide a
         computation of damages, as directed by the Court, and has not appeared for deposition. We have
         only received copies of paid invoices in the approximate amount of $15,000 as well as
         unspecified credit card records and checking account statements without any explanations
         highlighting related charges. Furthermore, plaintiff’s counsel is attempting to force depositions
         of the defendants to precede provision of his computation of damages and the plaintiff’s
         deposition. There has been no agreement to the aforesaid. As set forth in the Scheduling Order,
         depositions are to proceed in caption order.

                 I am the handling attorney for Defendants Hardy and was out of the office on Disability
         until February 5, 2018. In my absence, contrary to the plaintiff’s contentions, my office
         responded to the plaintiff’s requests for production of documents. Annexed as Exhibit “A” is a
         copy of said response. There has been no obstruction or refusal to participate in discovery. While
         our responses set forth objections to some requests, documentary discovery was provided subject
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to those objections. Plaintiff has unclean hands as he has not provided substantive
documentation which is necessary in order to conduct a full and complete deposition of him.

        We object to the plaintiff’s erroneous assertions that we have obstructed or refused to
participate in discovery. It is clear that we have reached an impasse and informally conferring
on this dispute would not resolve same. The plaintiff’s alleged dissatisfaction with our responses
is not grounds for the relief he seeks.

        We object to the plaintiff’s request to for an Order compelling production regarding
Requests Nos. 1-5 and 11-14 as we have already responded to those demands. Furthermore, the
plaintiff’s request for costs should also be denied as Defendants Hardy have not obstructed or
refused to participate in discovery. It is respectfully requested that a further Discovery
Conference be held in this matter to resolve these issues.



                                                      Very truly yours,

                                                      ________S________
                                                       Vincent Brescia, Esq.

VAB/vb

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Please be advised this office is now a paperless environment. As such, we will communicate via e-mail
and/or e-fax. Please contact this office immediately to provide your preferred E-mail address for all
future communications. Please forward all future correspondence, including discovery requests,
discovery responses, motions, etc. to harriskingmail@libertymutual.com or via e-fax: (603) 430-1946.
**We will still require Original Authorizations via regular mail.**
